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 1
                                UNITED STATES DISTRICT COURT
 2                            SOUTHERN DISTRICT OF CALIFORNIA
 3
     MS. L, et al.,                                     Case No. 18cv428 DMS MDD
 4
 5                    Petitioners-Plaintiffs,
                                                        JOINT STATUS REPORT
 6         vs.
 7
   U.S. IMMIGRATION AND CUSTOMS
 8 ENFORCEMENT, et al.,
 9
                      Respondents-Defendants.
10
11
12         On August 16, 2021, the Court ordered the parties to file a Joint Status Report

13 (JSR) by 3:00 pm on September 22, 2021, in anticipation of the status conference
14
     scheduled at 1:30 pm on September 24, 2021. ECF No. 612. In accordance with this
15
16 order of the Court, the parties provide the below JSR.
17
18 ///
19 ///
20
   ///
21
22
23
24
25
26
27
28
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     I.      DEFENDANTS’ POSITIONS
 1
 2        A. Update Regarding Government’s Implementation of Settlement
 3           Agreement

 4        SETTLEMENT                 DESCRIPTION                           NUMBER
             PROCESS
 5       Election Forms 1       Total number of executed             455 (266 Parents/189
                                election forms received by                Children)2
 6                              the Government
                                   • Number who elect                293 (163 Parents/130
 7                                     to receive settlement               Children)
                                       procedures
 8                                 • Number who waive                 162 (103 Parents/59
                                       settlement                          Children)3
 9                                     procedures
10       Interviews             Total number of class                          1814
                                members who received
11                              interviews
                                   • Parents who                                95
12                                     received interviews
                                   • Children who                               86
13                                     received interviews
         Decisions              Total number of Credible                       73 5
14                              Fear Interview
                                (CFI)/Reasonable Fear
15                              Interview (RFI) decisions
                                issued for parents by
16                              USCIS
17   1
     The number of election forms reported here is the number received by the Government as of
18 September   21, 2021.
   2
     The number of children’s election forms is lower than the number of parent election forms
19 because in many instances a parent electing settlement procedures submitted an election form on
   his or her own behalf or opposing counsel e-mailed requesting settlement implementation for the
20 entire family, but no separate form was submitted on behalf of the child.
21   3
       The number of children’s waivers is lower because some parents have submitted waivers only
     for themselves and some parents who have waived reunification also waived settlement procedures
22   and have therefore not provided a form for the child.
     4
       Some individuals could not be interviewed because of rare languages; these individuals were
23   placed in Section 240 proceedings. This number includes credible fear and reasonable fear
     interviews, as well as affirmative asylum interviews.
24   5
       This number is the aggregate of the number of parents whose negative CFI/RFI determinations
25   were reconsidered, number of parents whose negative CFI/RFI determination was unchanged, and
     individuals who were referred to 240 proceedings without interview because of a rare language.
26   This number excludes 12 cases where a parent already had an NTA from ICE or was already
     ordered removed by an IJ (which are included in the interview totals).
27
28

                                                   1                                  18cv428 DMS MDD
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                                      • Number of parents                         71 6
 1                                       determined to
                                         establish CF or RF
 2                                       upon review by
                                         USCIS
 3                                    • Number of parents                          2
                                         whose CF or RF
 4                                       finding remains
                                         negative upon
 5                                       review by USCIS
                                  Total number of CFI                             73 7
 6                                decisions issued for
                                  children by USCIS
 7                                    • Number of children                        73 8
                                         determined to
 8                                       establish CF by
                                         USCIS
 9                                    • Number of children                         0
                                         determined not to
10                                       establish CF by
                                         USCIS
11                                Total number of                                 28
                                  affirmative asylum
12                                decisions by USCIS
                                      • Number of parents                          4
13                                       granted asylum by
                                         USCIS
14                                    • Number of parents                          6
15                                       referred to
                                         immigration court
16                                    • Number of children                        59
                                         granted asylum by
17                                       USCIS
                                      • Number of children                        13
18                                       referred/returned to
                                         immigration court
19
20
     6
         This number includes parents who received positive CF/RF determinations upon reconsideration,
21 parents who received a Notice to Appear based on their child’s positive CF determination, and
   parents who were placed in Section 240 proceedings due to a rare language.
22 7
       This number is the aggregate of the number of children who received a positive CF determination,
23   the number of children who received a negative CF determination, and children who were referred
     to 240 proceedings without interview because of a rare language.
24   8
       This number includes children who received a positive CF determination, children who received
     a Notice to Appear as a dependent on their parent’s positive CF determination, and children who
25   were placed in Section 240 proceedings due to a rare language.
26   9
        This number includes children granted asylum as a dependent on their parent’s asylum
     application.
27
28

                                                      2                                  18cv428 DMS MDD
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 1    Removals                    Number of class members           103 Parents 10
                                  who have been returned to
 2                                their country of origin as a
                                  result of waiving the
 3                                settlement procedures

 4         B. Updated Reunification Numbers
 5
              On March 4, 2020, the parties submitted a Joint Status Report containing
 6
 7 reporting on reunifications for the Original Class period. ECF No. 519. This was the
 8 final report of these reunification numbers made to the Court and stated that the
 9
   report reflected “approximate numbers on these children maintained by ORR at least
10
11 as of February 28, 2020.” Id. at 2. Based on the data and records then available to
12 the government, the report identified the final number of reunifications for a child
13
   with his or her separated parent as 2,166. Id. at 3.
14
15            More recently, as part of its work to identify and support families that were
16 separated at the U.S.-Mexico border, the Family Reunification Task Force (FRTF),
17
   with the assistance of DHS data personnel, has reviewed all family separations
18
19 known to have occurred between January 20, 2017 and January 20, 2021, and has
20 classified the current reunification status of each separated child. See Declaration of
21
   Marc Rosenblum, attached hereto, ¶ 3. This review included a re-examination of the
22
23 Legacy Ms. L. cases, and specifically of the 2,166 children identified to the court in
24
     the parties’ JSR as having been reunified with his or her separated parent. Id. In the
25
26
27   10
          This number is as of September 21, 2021.

28

                                                     3                        18cv428 DMS MDD
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     course of that re-examination the FRTF has determined, based on currently-available
 1
 2 data, that 2,124 children were in fact reunified with separated parents as previously
 3
     reported, but 42 children were either discharged to a parent other than the separated
 4
 5 parent (13 children) or discharged to a sponsor other than the child’s parent (29
 6 children). Id.
 7
           The attached statement reflects an explanation of the research conducted by
 8
 9 the DHS Office of Immigration Statistics (OIS) on behalf of the FRTF leading to
10 these updated numbers. See generally, Rosenblum Declaration. The government has
11
     shared these updated numbers along with the explanation from OIS with counsel for
12
13 Plaintiffs, and has identified to Plaintiffs the individuals who are the subject of these
14 updates. ORR is also conducting further review of this update from OIS to determine
15
     if it has additional information to provide. The parties agree that it is possible that
16
17 some of these children who were released to a sponsor other than the parent may
18 have since reunified with their parents in a manner that is not captured by the
19
   government’s data, and the parties are working together to identify those cases.
20
21 Additionally, the government is working closely with counsel for the Plaintiffs to
22
23
24
25
26
27
28

                                               4                              18cv428 DMS MDD
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     ensure that these children and their parents are reunified and receive all appropriate
 1
 2 support.
 3
        C. The President’s February 2, 2021 “Executive Order on the Establishment
 4         of Interagency Task Force on the Reunification of Families”
 5
           As noted in the parties’ March 10, 2021 filing, the parties have entered into
 6
 7 settlement negotiations which remain ongoing, and the Family Reunification Task
 8 Force (FRTF) is continuing its work both in parallel and in conjunction with these
 9
     settlement discussions. ECF No. 578. Since the creation of the FRTF, a total of 50
10
11 separated children have been reunified with parents in the U.S and 85 people have
12 been paroled as of September 20, 2021. The FRTF continues to focus on establishing
13
     contact with all families and working to increase the rate of reunifications.
14
15         The parties also are discussing settlement issues among themselves on a

16 regular basis, and the next formal Settlement Conference with Magistrate Judge
17
     Dembin is scheduled on September 27, 2021. Issues previously reported on by
18
19 Defendants in joint status reports are now being addressed by the parties as part of
20 the ongoing settlement negotiations.
21
22 II.   MS. L. PLAINTIFFS’ POSITIONS

23            A. Steering Committee Outreach to Sponsors and Parents of Children
                 of Expanded Class Members
24
25         The government has provided eleven lists identifying 1,134 children of
26 expanded class members. The government has also identified 64 “recategorized”
27 deported parents from the original class, who the Steering Committee has sought to
28

                                               5                              18cv428 DMS MDD
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 1 contact as part of its efforts to reach members of the expanded class.11 The Steering
 2 Committee’s recent efforts have been targeted at locating the parents of this group
 3 of 1,198 (1,134 plus 64) children.12
 4            Of these 1,198 children, for 895 the Steering Committee has reached the
 5 parents (or their attorneys), or otherwise resolved the cases. This represents an
 6 increase of 34 children’s parents since our last status report. We describe below the
 7 status of our continuing efforts to reach the parents of the remaining 303 children,
 8 down from 337 in the last status report.
 9            The parents of 303 children fall into three groups; in all three, searches are
10 ongoing. First, there are approximately 218 children whose parents are believed to
11 have been removed from the United States following separation from their children.
12 Second, there is a group of approximately 73 children whose parents are believed to
13 be in the United States. Third, there is a group of 12 children for whom the
14 government has not provided a phone number for the parent, child, sponsor or
15 attorney. This group has not changed since our last status report.
16            Steering Committee Efforts to Locate Parents
17            First, as previously reported, the Steering Committee attempts to reach all
18 parents, sponsors and attorneys by telephone. The Steering Committee has renewed
19 these efforts and had been engaged in an effort to reach parents, where possible, by
20 using the additional contact information provided by the government in late 2020
21
     11
          In its portion of the December 12, 2018 Joint Status Report, the government disclosed the
22 existence of what we call the “Recategorized Original Class”, i.e., members of the original class
23 who were not identified as part of the government’s initial disclosures in the summer of 2018. The
   government only provided contact information for this group in February 2019, after the Steering
24 Committee’s efforts to contact original class members had concluded – and so, as a logistical
   matter, the Steering Committee has conducted outreach to the 64 parents in this group who were
25 deported following separation from their children, as part of the Steering Committee’s efforts to
   contact expanded class members.
26   Because some of the parents of these children entered with more than one child,
     12

27 there are 1,082 parents in this combined group.
28

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 1 from databases of the Executive Office for Immigration Review and U.S. Customs
 2 and Immigration Enforcement. This information includes phone numbers that had
 3 not previously been disclosed for children and parents, as well as contact information
 4 for a number of attorneys.
 5         Where those efforts are not successful, the Steering Committee has engaged
 6 in time-consuming and arduous on-the-ground searches for parents. These on-the-
 7 ground searches have been focused abroad in the countries of origin of parents who
 8 were removed from the United States following separation from their children.
 9 These searches are ongoing by members of the Steering Committee, and we have
10 recently devoted additional resources to these efforts. As previously reported, on-
11 the-ground searches for separated parents are ongoing when it is safe to do so, but
12 are limited and in some cases cannot take place due to risks associated with the
13 COVID-19 pandemic.
14         Also, as previously reported, the Steering Committee has established toll-free
15 telephone numbers in the United States, Guatemala, Honduras, Mexico and El
16 Salvador to receive inbound phone calls from potential members of the expanded
17 class. The Steering Committee has distributed this number both by email and U.S.
18 Mail to a number of non-governmental organizations and other community
19 organizations in the United States, who may be able to help us locate parents because
20 they work in the communities these parents are likely to have contact with. In
21 addition, the Steering Committee sent letters in Spanish and English to
22 approximately 1,600 addresses provided by the government for the potential class
23 members that the Steering Committee has not yet reached. These letters explain our
24 role in this action and invite parents to contact the Steering Committee to call these
25 toll-free numbers. The Steering Committee continues to monitor voicemail boxes
26 reachable via these toll-free numbers, and plans to renew its mailing effort with the
27
28

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 1 new address information received for children and their attorneys from the
 2 government.
 3         Additionally, as previously reported, the Steering Committee has undertaken
 4 broad-based media outreach efforts to publicize the toll-free phone numbers created
 5 by the Steering Committee in Spanish language media. The Steering Committee has
 6 also arranged for advertisements on Spanish language radio in Central America.
 7 Those advertisements have begun airing. The Steering Committee continues to work
 8 to identify opportunities to broadly disseminate the toll-free numbers through
 9 various media to maximize visibility to potential Ms. L. class members, including
10 seeking to collaborate on such media outreach initiatives with other non-profit
11 organizations.
12         The Steering Committee also receives additional contact information for a
13 limited number of families from third parties, including a number of non-
14 governmental organizations. The Steering Committee uses that information to re-
15 attempt telephonic communication with all families for whom new contact
16 information has become available, in addition to the efforts underway using new
17 information provided by the government as described above.
18
              B. Children incorrectly reported as reunited with their separated
19               parent
20         The government previously alerted Plaintiffs that it would be correcting the
21 number of original class children reunited with their parents, and recently disclosed
22 to Plaintiffs a list of children whom its review could not confirm were reunited with
23 their separated parent. These children were instead released to sponsors (including
24 in some cases to the non-separated parent). Plaintiffs are reviewing this information,
25 including any new declarations the government will be filing with this status report,
26 and will make sure that outreach efforts to these families are based on accurate
27
28

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     information about whether they are currently reunited.
 1
 2 III.    MMM-Dora Plaintiffs’ Report Regarding Settlement Implementation
 3
           The parties continue to work together to implement the Settlement Agreement
 4
     approved on November 15, 2018. Class counsel are providing the Government with
 5
 6 signed waiver forms as they are received from class members, and class counsel are
 7
     continuing to work on outreach efforts to class members who may qualify for relief
 8
 9 under the settlement. The parties continue to meet and confer on issues related to
10 settlement implementation as they arise.
11
     DATED: September 22, 2021             Respectfully submitted,
12
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                                     UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF CALIFORNIA

   MS. L, et al.,                                                     Case No. 18cv428 DMS MDD

                        Petitioners-Plaintiffs,

           vs.

   U.S. IMMIGRATION AND CUSTOMS
   ENFORCEMENT, et al.,

                        Respondents-Defendants.



                                 DECLARATION OF MARC ROSENBLUM




   1. I, Marc Rosenblum, pursuant to 28 U.S.C. § 1746, and based upon my personal knowledge,

   and documents and information made known or available to me from official records and

   reasonably relied upon in the course of my employment, hereby declare as follows:

   2. I am the Department of Homeland Security (DHS) Deputy Assistant Secretary for the Office

   of Immigration Statistics. I have been in this role five-and-a-half years (since January 2016). In

   August 2019 I was also designated the DHS Statistical Official pursuant to the Foundations of

   Evidence-Based Policymaking Act.

   3. As part of its work to identify and support families that were separated at the U.S.-Mexico

   border, the Family Reunification Task Force (FRTF) reviewed all family separations known to

   have occurred between Jan. 20, 2017 and Jan. 20, 2021 and classified the current reunification status of

   each separated child. This review included a re-examination of the Legacy Ms. L. cases, and specifically

   the 2,166 children identified to the court in the parties’ joint status reports as having a child who was

                                                         1
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   reunified with his or her separated parent. In the course of that re-examination, the FRTF has determined

   that 2,124 children were in fact reunified with separated parents as previously reported, but 42 children

   were either discharged to a parent other than the separated parent (13 children) or discharged to a sponsor

   other than the child’s parent (29 children). This statement summarizes research conducted by the DHS

   Office of Immigration Statistics (OIS) on behalf of the FRTF that led to these conclusions.


   4. On July 9, 2021 the Department of Homeland Security, Office of Immigration Statistics (OIS) received

   updated information from the Office of Refugee Resettlement (ORR) describing ORR’s most up to date

   discharge data about each of the 5,648 children known to have been separated between July 1, 2017 and

   Jan. 20, 2021, including the 2,815 children associated with the Legacy Ms. L class. On July 20, 2021 OIS

   received a follow-up file from ORR that identified the 2,166 children who comprised the 2,166

   reunifications with separated parents identified as part of the March 4, 2020 Joint Status Report, which

   was the final joint status report in which these reunification numbers were reported to the Court..


   5. OIS’s initial work to review and validate the 2,166 previously-reported reunifications with separated

   parents began with using child A number as a unique identifier. OIS then merged the July 9 ORR

   discharge details dataset with the July 20 list of reported reunifications and with information from the

   master list of family separations to assemble a dataset focused on the 2,166 previously reported

   reunifications that included the following key variables:


           ORR Child A number
           DHS Child A number
           ORR Discharge type
           ORR Sponsor relationship to child
           ORR Sponsor first name
           ORR Sponsor last name
           DHS Separation Parent first name
           DHS Separation Parent last name


   6. OIS then conducted a manual comparison of ORR sponsor first and last names to DHS separation

   parent first and last names to construct a sponsor/parent name match variable. The sponsor/parent name

                                                        2
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   match variable was coded as a match (YES) if and only if one of the following five conditions were met:

   1) first name and last name matched nearly exactly; 2) first name and last name fields were reversed but

   otherwise matched nearly exactly; 3) one of two first names matched and last name matched exactly; 4)

   one of two last names matched and first names matched exactly; or 5) the only difference between the

   name sets was that one or both pairs of names in the first and/or last name fields were in reversed order.


   OIS used the merged dataset plus the constructed name match variable to assign each previously reported

   reunification to one of five categories:


   Table 1: Initial OIS Analysis of Previously Reported Reunifications

             Category                                 Definition                    Count
    Confirmed reunification in         HHS discharge type = voluntary departure                 97
    home country                       (see table note)
    Confirmed reunification in         ORR discharge type does not equal                      1,939
    the United States                  voluntary departure
                                       ORR sponsor relationship to child =
                                       father or mother
                                       Parent/sponsor name match = YES
    Initial sub-total: confirmed reunifications                                               2,036
    Reunification not                  Discharge information provided by ORR                    6
    confirmed: need additional         described a discharge other than the one
    data                               associated with the Ms. L reunification
    Reunification not                  ORR discharge type does not equal                        78
    confirmed: ambiguous               voluntary departure
    sponsor relationship to            ORR sponsor relationship to child does
    child                              not = father or mother

    Reunification no                    ORR discharge type does not equal                    46
    confirmed: ambiguous                voluntary departure
    name match data                     ORR sponsor relationship to child =
                                        father or mother
                                        Parent/sponsor name match = NO
    Initial sub-total: reunifications unable to be confirmed                                130
    Total                                                                                  2,166
   Note: In consultation with the Ms. L Steering Committee, OIS assumes that children associated with the
   Legacy Ms. L class who were returned to their home countries under an order of voluntary departure may
   be presumed to be confirmed reunifications on the basis of the Steering Committee’s oversight of
   voluntary departure cases at the time.




                                                        3
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   7. On August 12, 2021, OIS received additional data from ORR that included updated discharge

   information for the 6 children who had been in ORR custody on multiple occasions and whose initial data

   described a discharge other than the one associated with the Legacy Ms. L reunification. Upon analysis of

   the updated discharge data, all 6 of these cases met the criteria for inclusion in the Confirmed

   reunification in the United States category.


   8. OIS generated lists of child A numbers for cases previously identified as confirmed reunifications with

   separated parents but for which the initial ORR data did not indicate the child was discharged to a father

   or mother or for which parent/sponsor name match = NO. On August 11, 2021, OIS provided the list of A

   Numbers for which the sponsor relationship to child was not a parent to ORR and requested that ORR

   conduct additional research on the discharge conditions for these children. On August 18, 2021, ORR

   provided additional information about these cases, which allowed OIS to classify them into one of four

   categories. The following table identifies these categories, along with subsequent steps taken by OIS and

   the FRTF to further validate ORR’s findings:


   Table 2: Secondary ORR Research on Cases with Ambiguous Sponsor Relationship to Child Data

    ORR Finding                          Additional Analysis                              Count
    Child reunited with separation       Additional research required: A numbers          35
    parent in ICE custody                provided to ICE to confirm that reunification
                                         occurred and obtain name of reunification
                                         parent
    Child returned under order of        Additional research required: A numbers          12
    voluntary departure                  provided to ICE to confirm record of
                                         voluntary departure
    Child was discharged to parent       OIS analysis of parent/sponsor name match =      13
                                         YES
                                         Update final records: child was reunified
                                         with separation parent
    Child was discharged to parent       ORR sponsor relationship to child = father or    1
    other than separated parent          mother
                                         OIS analysis of parent/sponsor name match =
                                         NO
                                         Update final records: child was not reunified
                                         with separation parent
    Child was discharged to sponsor      Update final records: child was not reunified    17
    other than parent                    with separation parent
    Total                                                                                 78


                                                         4
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   9. On August 17, 2021, OIS provided the list of A numbers of previously reported reunifications for

   which Parent/sponsor name match = NO to CBP to request additional research, including into whether the

   name identified in the ORR data appeared in CBP records as an additional parent present at the time of

   the initial separation event. On August 19, 2021, CBP provided OIS with updated information about these

   cases that allowed OIS to classify them into one of five categories. The following table identifies these

   categories, along with subsequent steps taken by OIS and the FRTF to further validate CBP’s findings:


   Table 3: Secondary CBP Research on Cases with Ambiguous Sponsor Name Match Data

    CBP Finding                         Additional Analysis                               Count
    Child reunited with separation      Additional research required: A numbers           7
    parent in ICE custody               provided to ICE to confirm that reunification
                                        occurred and obtain name of reunification
                                        parent
    Child was discharged to             OIS analysis of parent/sponsor name match =       20
    separation parent                   YES
                                        Update final records: child was reunified
                                        with separation parent
    Child was discharged to             OIS analysis of parent/sponsor name match =       2
    separation parent                   NO
                                        Update final records: child was not reunified
                                        with separation parent
    Child was discharged to sponsor     Update final records: child was not reunified     6
    other than parent or aged out of    with separation parent
    ORR custody
    Child was discharged to parent      Update final records: child was not reunified     11
    other than separation parent        with separation parent
    Total                                                                                 46




                                                        5
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   10. On August 25, 2021, OIS provided the list of fifty-four (54) A numbers requiring additional ICE

   research to ICE (47 from Table 2 above and 7 from Table 3 above), and ICE returned the results of their

   analysis on September 1, 2021. OIS’s analysis of ICE’s research is summarized in the following table:


   Table 4: Secondary ICE Research on Cases Requiring ICE Research

    ICE Finding                        Additional Steps                                Count
    HHS finding of Voluntary           Update final records: child was reunified       10
    Departure confirmed in ICE         with separation parent
    records
    Child reunified with parent in     OIS analysis of parent/sponsor name match =     39
    ICE custody                        YES
                                       Update final records: child was reunified
                                       with separation parent
    HHS finding of Voluntary           Update final records: child was not reunified   2
    Departure not confirmed in ICE     with separation parent
    records
    Child reunified with parent in     OIS analysis of parent/sponsor name match =     2
    ICE custody                        NO
                                       Update final records: child was not reunified
                                       with separation parent
    Child was released from ICE        Update final records: child was not reunified   1
    custody to non-separation parent   with separation parent
    Total                                                                              54




                                                      6
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   11. The following table uses the information from tables 1 – 4 to summarize updated information about

   the 2,166 cases previously reported to the court as Legacy Ms. L reunifications with separated parents:


   Table 5: Final Analysis of Previously Reported Reunifications

    Category                                                                               Count
    Confirmed Legacy Ms. L reunification in home country                                   107
    Confirmed Legacy Ms. L Reunifications within the United States                         2,017
    Subtotal: confirmed reunification with separation parent                               2,124
    Discharged to non-separation parent                                                    13
    Discharged to non-parent                                                               29
    Subtotal: not a confirmed reunification with separation parent                         42
    Total                                                                                  2,166




    I declare under penalty of perjury that the foregoing is true and correct to the best of

    my knowledge, information and belief. Executed on this 22nd day of September,

    2021.




                                                    ______________________________

                                                    Marc Rosenblum
                                                    Deputy Assistant Secretary for the Office of
                                                    Immigration Statistics




                                                       7
